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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Case No. 14-cv-03074-CMA-KMT

   JOHANA PAOLA BELTRAN,
   LUSAPHO HLATSHANENI,
   BEAUDETTE DEETLEFS,
   ALEXANDRA IVETTE GONZALEZ,
   JULIANE HARNING,
   NICOLE MAPLEDORAM,
   LAURA MEJIA JIMENEZ,
   SARAH CAROLINA AZUELA RASCON,
   CATHY CARAMELO,
   LINDA ELIZABETH,
   GABRIELA PEREZ REYES,
        and those similarly situated,

         Plaintiffs,
   v.

   INTEREXCHANGE, INC.,
   USAUPAIR, INC.,
   GREATAUPAIR, LLC,
   EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
   EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
   CULTURAL HOMESTAY INTERNATIONAL,
   CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR,
   AUPAIRCARE INC.,
   AU PAIR INTERNATIONAL, INC.,
   APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
   AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA,
   ASSOCIATES IN CULTURAL EXCHANGE DBA GOAUPAIR,
   AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR,
   GOAUPAIR OPERATIONS, LLC, DBA GOAUPAIR,
   AGENT AU PAIR,
   A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
   20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

         Defendants.


    SECOND DECLARATION OF JOSHUA J. LIBLING ATTACHING OBJECTIONS OR
                 COMMENTS TO PROPOSED SETTLEMENT
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   I, JOSHUA J. LIBLING, declare as follows:

          1.     I am an attorney duly licensed to practice law in the State of New York and

   am a Counsel with the law firm of Boies Schiller Flexner LLP, counsel for the Plaintiffs

   and for the Class. I am admitted to practice in the United States District Court for the

   District of Colorado.

          2.     The matters stated herein are based on my personal knowledge and, if

   called upon to testify, I could and would testify competently thereto.

          3.     Attached hereto as Exhibit 1 is a true and correct copy of an objection or

   comment to the proposed settlement in this action received by the class administrator

   from Ms. Alejandra Guadalupe Franyutti Ramirez. The class administrator informs me

   that Ms. Ramirez matches our records as a member of the class who has not submitted a

   request for exclusion. Exhibit 1 has been modified from the original through the redaction

   of personal identifying information (address, phone number, e-mail address). The

   unredacted version was provided to Defendants and a copy can be provided to the Court

   at the Court’s request.

          4.     Attached hereto as Exhibit 2 is a true and correct copy of an English-

   language translation of Exhibit 1 and accompanying certification. Exhibit 2 has been

   redacted identically to Exhibit 1 and an unredacted copy can be provided to the Court at

   the Court’s request.




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         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

   foregoing is true and correct to the best of my knowledge.


   Executed this 9th day of May, 2019 at New York, New York.

                                                  Respectfully submitted,

                                                  /s/ Joshua J. Libling
                                                  Joshua J. Libling
                                                  BOIES SCHILLER FLEXNER LLP
                                                  55 Hudson Yards
                                                  New York, NY 10001
                                                  Tel. (212) 446-2300
                                                  Fax. (212) 446-2350
                                                  jlibling@bsfllp.com

                                                  Counsel for Plaintiffs




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                               EXHIBIT 1
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                                             MEXICO, QUERETARO A 2 DE MAYO DEL 2019.


     Administrador de Reclamaciones
     PRESENTE


     Por medio de la presente me identifico con el nombre de ALEJANDRA
     GUADALUPE FRANYUTTI RAMIREZ, situada en el domicilio

             . Y con dirección de correo electrónico:                                  y
     número telefónico
     En donde pongo en manifiesto mi oposición a la conciliación debido a que en el
     tiempo que fui contratada por la empresa CULTURAL CARE. En el PROGRAMA
     AU PAIR, se me fue tratada con discriminación y mal atención humana, en el corto
     periodo que estuve viviendo en PORTOLA VALLEY CALIFORNIA, me enferme
     repentinamente estando en mi día de descanso laboral y visitando la ciudad
     de RENO, NEVADA, donde fui ingresada al hospital de RENO de urgencia por
     un alto dolor abdominal, mareo y vomito, y siendo negado mi servicio medico el cual
     me había sido designado por la misma empresa, por lo que tuve que usar mi seguro
     medico de viajero para poder ser atendida en el hospital, posteriormente notifique a
     la encargada del programa de esa área, y así mismo a la familia anfitriona de mi
     problema de salud por lo que hicieron caso omiso y decidieron correrme y darme un
     plazo muy corto para que saliera de ESTADOS UNIDOS, dando por finiquitado mi
     trabajo sin paga y sin explicación alguna debido a mi problema de salud,
     anteriormente a esto en la primer semana que yo estuve con la familia anfitriona
     decidí convocar una reunión con la encargada del Área y la Familia Anfitriona, para
     externarles que no estaba de acuerdo a las labores que me estaba designando la
     Mama anfitriona, ya que en el contrato decía que yo tenia responsabilidad de cuidar
     a los niños y hacer labores básicas de los mismos tales como cocinarles, llevarlos
     a actividades, lavar su ropa y asear los platos en los que ellos consumían sus
     alimentos, pero pese a ellos se me empezaron a designar otro tipo de labores,
     siendo así discriminada, como si fuera empleada doméstica de la Mama anfitriona,
     por lo cual yo solicite dicha reunión para poner los puntos en claro sobre dichas
     conductas discriminatorias que se me estaban imponiendo, por lo que decidieron
     darse un periodo de 6 meses para buscar a otra chica del programa de CULTURAL
     CARE para que hiciera el trabajo de Au Pair y cubriera mi lugar, ya que no estaba
     dispuesta a recibir un trato inhumano, posteriormente a esto, fue que me enferme
     entre en urgencia y decidieron correrme, lo cual se me hizo muy injusto, ya que se
     habían comprometido en cosas diferentes en la contratación. Por lo que crearon
     una afección anímica y psicológica en mi persona, por tal motivo no estoy de
     acuerdo con la conciliación.


                                ATENTAMENTE
                    ALEJANDRA GUADALUPE FRANYUTTI RAMIREZ
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                               EXHIBIT 2
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                                                       MEXICO, QUERETARO ON MAY 2, 2019.



   Claims Administrator
   DELIVERED BY HAND


   I hereby identify myself by the name of ALEJANDRA GUADALUPE FRANYUTTI
   RAMIREZ, residing at the address
                                                         My email address is:
                            and my telephone number is

   I hereby state my opposition to the settlement because, during the time that I was
   employed by the company CULTURAL CARE, in the AU PAIR PROGRAM , I was
   treated with discrimination and an inhuman approach, during the short period that I was
   living in PORTOLA VALLEY CALIFORNIA. I suddenly became ill while on my rest
   day from work and visiting the city of RENO, NEVADA, where I was admitted to
   the emergency room of the RENO hospital with acute abdominal pain, dizziness, and
   vomiting, and I was denied my medical care which had been designated by the same
   company, so that I had to use my traveler's medical insurance to be treated at the
   hospital, then I notified the program manager for that area and the host family of my
   health problem, and they ignored it and decided to fire me and give me a very short
   deadline to leave the UNITED STATES, terminating my work without pay and without
   any explanation, due to my health problem. Previous to this, during the first week that I
   was with the host family, I decided to convene a meeting with the person in charge of
   the Area and the Host Family, to inform them that I did not agree with the tasks that the
   hostess Mother was assigning me, since, in the contract, it said that I had the
   responsibility of taking care of the children and doing basic chores for them, such as
   cooking for them, taking them to activities, washing their clothes, and cleaning the
   dishes on which they consumed their food. But, in spite of this, they began to assign me
   other types of work, thus discriminating against me, as if I were a domestic employee of
   the hostess Mother, for which reason I requested this meeting to make clear the points
   about these discriminatory behaviors that were being imposed on me. For this reason,
   they decided to take a period of 6 months to find another girl from the CULTURAL
   CARE program to do Au Pair work and take my place, since I was not willing to accept
   inhuman treatment. It was after this that I got sick and went to the emergency room, and
   they decided to fire me, which seemed very unfair to me, since they had committed to
   something different during my hiring. They thus created emotional and psychological
   distress for me. For this reason, I do not agree to the settlement.

                                 SINCERELY,
                    ALEJANDRA GUADALUPE FRANYUTTI RAMIREZ
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